                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                      Case No. 17-52483

PACKARD SQUARE LLC,                                         Chapter 11

            Debtor.                                         Judge Thomas J. Tucker
_____________________________/

CAN IV PACKARD SQUARE LLC,

                       Plaintiff,

v.                                                          Adv. Pro. No. 17-4644

PACKARD SQUARE, LLC, et al.,

                       Defendants.
                                        /

           ORDER REMANDING REMOVED CASE BACK TO STATE COURT,
                 FOR LACK OF SUBJECT MATTER JURISDICTION

         This adversary proceeding is before the Court on the Court’s own motion for review of

subject matter jurisdiction.

         On September 12, 2017, Defendant/Counter-Plaintiff/Lien Claimant Amthor Steel

commenced this adversary proceeding by removing to this Court the state court case of CAN IV

Packard Square, LLC v. Packard Square LLC et al., Case No. 16-000990-CV, which was

pending in the Circuit Court for the County of Washtenaw, Michigan. The removal was

predicated on 28 U.S.C. § 1452(a).

         On October 13, 2017, this Court entered an order dismissing the main bankruptcy case (In

re Packard Square LLC, Case No. 17-52483). Because the main bankruptcy case has been

dismissed, there is no longer pending any “case under title 11” within the meaning of 28 U.S.C.




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§§ 1334(a), 157(a) and 157(b)(1). As a result, this adversary proceeding can no longer be

considered a proceeding “arising under title 11, or arising in or related to” a case under title 11

within the meaning of 28 U.S.C. §§ 1334(b), 157(a) and 157(b)(1).

        For these reasons, the Court concludes that it no longer has subject matter jurisdiction of

this adversary proceeding, and so it must be remanded back to the state court. Accordingly, and

under 28 U.S.C. § 1447(c),

        IT IS ORDERED that this removed case is remanded to the Circuit Court for the County

of Washtenaw, Michigan, from which it was removed.

        The Clerk of this Court will mail a certified copy of this order of remand to the clerk of

the state court.



Signed on October 13, 2017




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